                                   Exhibit 6C
                 Excerpts of Deposition of Kenneth Buckfire




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City of Detroit                                                                                        August 29, 2013
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 1 A. Correct.                                                  1 that would be of benefit to the City in resolving the
 2 Q. So, you felt like we had some time to negotiate?          2 Swap matter. I told him that we were always willing
 3 A. That's correct.                                           3 to listen to anything anyone had to say and I asked
 4 Q. Yeah. Your understanding is that the legal                4 him to tell me what he had in mind. He never did.
 5 negotiations of the forbearance agreement were               5 Q. Have you told me everything you can recall about that
 6 complicated but that they proceeded uninterrupted from       6 conversation?
 7 June 11th to July 15th, correct?                             7 A. Yes.
 8 A. Correct.                                                  8 Q. During that conversation didn't Mr. Snyder describe
 9 Q. And if there had been a serious interruption in these     9 the general structure of a proposal Syncora wanted to
10 negotiations, you would have likely known about this        10 make?
11 as an important advisor to the City, correct?               11 A. No.
12 A. Yes.                                                     12 Q. So, if Mr. Snyder says he did, he's lying or mistaken?
13 Q. And you are aware of no serious interruption, correct?   13 A. He never made a specific proposal to me.
14 A. No.                                                      14 Q. I'm not saying a specific proposal, I'm saying a
15 Q. That's not correct?                                      15 general structure of a proposal, that's what he
16 A. I'm not aware of any serious interruptions.              16 testified to in his affidavit.
17 Q. In late June of 2013 you learned that Syncora wanted     17    Did he provide to you the general structure
18 to make a proposal to the City, isn't that correct?         18 of a proposal that Syncora wanted to make?
19 A. Yes.                                                     19 A. Not that I recall.
20 Q. And you had a conversation with Todd Snyder on the       20 Q. Possible he did, possible he didn't, you just can't
21 subject of Syncora's potential proposal on Saturday,        21 remember?
22 June 29th, isn't that correct?                              22 A. I can't remember.
23 A. That's correct.                                          23 Q. Did he tell you that we'd be able to put specifics
24 Q. Mr. Snyder you understood is a banker at Rothschild's,   24 into the general structure of the proposal if we could
25 correct?                                                    25 execute an NDA that would allow us to learn about the


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 1 A. Correct.                                                  1 negotiations with the Swap counterparties?
 2 Q. And you also understood that he was representing          2 A. Yes, he did.
 3 Syncora, correct?                                            3 Q. What did you tell him in response to that?
 4 A. Yes.                                                      4 A. I said he should send us an NDA and we'll take a look
 5 Q. And you also understood that at the time that he was      5 at it.
 6 calling you, that there had been previous                    6 Q. And you understood that at least as he expressed to
 7 communications between counsel to Syncora and counsel        7 you that he wanted an NDA as a precursor in order to
 8 to the City, correct?                                        8 make a specific proposal, correct?
 9 A. I had heard about it but I wasn't aware of the            9 A. Correct.
10 specifics.                                                  10 Q. Isn't it true that after that time you understood that
11 Q. Okay. So, you knew Jones Day and Kirkland and maybe      11 an NDA was proposed to the City, correct?
12 others had met and talked about something but you           12 A. Yes.
13 didn't know what it was?                                    13 Q. And the City refused to execute that NDA, isn't that
14 A. I knew they were talking about the issues raised by      14 correct?
15 Syncora.                                                    15 A. That's correct.
16 Q. Okay. Now, tell me -- so, in terms of Syncora's          16 Q. Do you have information about why the City refused to
17 potential proposal, your first percipient knowledge of      17 execute it?
18 it as a witness happens on that Saturday when you have      18 A. Well, as I recall the NDA was not with the City, it
19 your conversation with Mr. Snyder, is that a fair           19 was meant to be with Miller Buckfire and Jones Day and
20 statement?                                                  20 we would not be able to disclose whatever they told us
21 A. Correct.                                                 21 to the City which made no sense, and that was the
22 Q. Tell me everything you can recall about that             22 reason we couldn't sign that NDA and that's why I
23 conversation.                                               23 testified earlier he didn't really tell me a proposal,
24 A. It was quite brief. Todd told me he had been retained    24 he said I'd like to make a proposal. He said I'll
25 by Syncora and that they wanted to propose something        25 tell you the proposal if you sign the NDA. So we


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 1 never got a proposal.                                        1 A. Sometimes.
 2 Q. I want to make that clear that's subject to you saying    2 Q. Isn't that something that you'll do in the DIP
 3 you don't remember whether he provided the general           3 financing which is you'll get all these offers in and
 4 outlines of the structure or not, correct?                   4 then you'll make these guys compete with each other in
 5 A. No.                                                       5 order to drive best possible deal for the City,
 6     MR. CULLEN: Objection. Foundation. I                     6 correct?
 7 don't know what general --                                   7 A. Only if you assume a level playing field which this
 8     MR. HACKNEY: Foundation?                                 8 negotiation was not.
 9     MR. CULLEN: Yeah, general outline is my                  9 Q. I'm just asking generally about the idea of trying to
10 problem.                                                    10 drive the best deal possible through competition
11 A. I can't recall him telling me anything about what he     11 amongst different negotiating parties. Can be
12 was going to propose and certainly wasn't specific.         12 valuable, right?
13 If he had been specific, I probably would remember it.      13 A. Can be under the right circumstances. This was not
14     BY MR. HACKNEY:                                         14 one of them.
15 Q. And that's because -- but you do remember him telling    15 Q. And what was wrong about the circumstances?
16 you the specifics would come after we sign an NDA?          16 A. Because we had only two parties to the table, the Swap
17 A. I do.                                                    17 counterparties who had signed the collateral
18 Q. Yeah. And then your understanding is that there was a    18 agreement. There was nobody else to negotiate with.
19 problem with the NDA that you couldn't discuss the          19 Q. That's right, that's right, because your understanding
20 proposal with the EFM?                                      20 was that Syncora had no rights whatsoever under the
21 A. That's correct.                                          21 collateral agreement, correct?
22 Q. And that was something that the parties couldn't get     22 A. Correct.
23 over?                                                       23 Q. And your understanding was they had no ability to
24 A. I asked Jones Day to go back to Kirkland Ellis and try   24 direct the actions of the Swap counterparties,
25 to fix the problems we had in the NDA and then I moved      25 correct?


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 1 on to other issues.                                          1 A. I testified earlier that my understanding, I was
 2 Q. And your understanding was that to the extent those       2 advised, the only parties of interest here are the
 3 problems didn't get fixed it was because Kirkland            3 Swap counterparties.
 4 Ellis was being obstinate with respect to the terms of       4 Q. And it was also your understanding that Syncora didn't
 5 NDA?                                                         5 have any rights under the Swaps that would be
 6 A. I don't know why we never resolved it.                    6 terminated, correct?
 7 Q. So, to this day you don't know whether or not an NDA      7 A. Only talking about the collateral agreement.
 8 could have been struck that would have allowed Syncora       8 Q. We talked about the fact that there might be a
 9 to make a rival proposal, correct?                           9 termination event for four hundred million dollars.
10 A. All I can tell you is that no NDA was entered into       10 That's not under the collateral agreement, right?
11 because the terms were unacceptable.                        11 A. True.
12 Q. And you don't know why one wasn't entered into           12 Q. So, we are talking about the Swaps, right?
13 ultimately after that?                                      13 A. Yes.
14 A. I don't think we could ever resolve the issues.          14 Q. Now, let's put aside what you've been told about who
15 Q. And this was in advance of your having executed the      15 the relevant parties were. You did know that Syncora
16 forbearance agreement, correct?                             16 was a Swap insurer, right?
17 A. Yes.                                                     17 A. Yes.
18 Q. As a negotiator, don't you agree that it's nice          18 Q. And you understood as a layperson but a sophisticated
19 whenever you can play two parties off against each          19 one that if an insurer makes a payment to the insured
20 other?                                                      20 it becomes subrogated to the rights of the insured
21 A. I didn't have two parties, I had one party. I had the    21 with respect to that payment, correct?
22 Swap counterparties.                                        22 A. Yes.
23 Q. And I'm not asking about in this case, I'm asking        23 Q. And isn't it true that if the Swap counterparties had
24 about as a general principle, isn't it nice when you        24 terminated, they wouldn't have waited around for two
25 can play two parties off against each other?                25 years to collect the casino revenues, right, they


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